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             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                              ______________

                               No. 23-3228

                     UNITED STATES OF AMERICA,

                                               Plaintiff-Appellee,

                                    v.

                           DONALD J. TRUMP,

                                               Defendant-Appellant
                              ______________

           REPLY IN SUPPORT OF GOVERNMENT’S MOTION
               FOR EXPEDITED APPELLATE REVIEW
                          ______________

         None of the arguments in defendant-appellant Donald J. Trump’s

opposition (“Opp.”) to the Government’s motion to expedite this case has

merit.     Rather, consistent with the public importance of promptly

resolving this case and the parties’ deep familiarity with the issues,

expedited briefing and argument is warranted. Indeed, that approach is

consistent with this Court’s expedited handling of multiple appeals

stemming from this matter. This case should be no exception to that

practice. The Government’s motion should be granted.
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     1. The defendant first contends (Opp. 2-5) that this case does not

satisfy the standard to warrant expedition. But as he acknowledges, an

expedited schedule is appropriate where “the public generally” has an

“unusual interest in prompt disposition.” Id. at 2 (citing D.C. Circuit

Handbook of Practice and Internal Procedures 34 (2021)).            Both the

district court and this Court have recognized a compelling interest in

promptly moving this case to trial. As this Court recently observed, the

defendant “has repeatedly asked to push back the trial date in this case,”

requests that the district court has repeatedly “considered and denied.”

Trump, 2023 WL 8517991, at *20. Any further delay in this case would

“entail serious costs to the judicial system,” Gentile v. State Bar of

Nevada, 501 U.S. 1030, 1075 (1991), and “frustrate the public’s interest

in the swift resolution of criminal charges,” Trump, 2023 WL 8517991, at

*20. Expediting the appeal in this case is necessary to vindicate the

public’s interest in a timely trial. See Strunk v. United States, 412 U.S.

434, 439 n.2 (1973) 1; ECF No. 38 at 53, 55.


     1   The defendant seeks to distinguish (Opp. 4-5) Strunk and
Cobbledick v. United States, 309 U.S. 323 (1940), on the facts of those
cases but does not contest the principle that “encouragement of delay is
fatal to the vindication of the criminal law.” Cobbledick, 309 U.S. at 325.
That principle counsels expedition here.
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     2. The defendant argues (Opp. at 9-13) that an expedited schedule

does not permit the parties and this Court to give the issues on appeal

due consideration.    A prior appeal in this case demonstrates that

expedited proceedings are entirely compatible with due consideration. In

United States v. Trump, No. 23-3190, 2023 WL 8517991 (D.C. Cir. Dec.

8, 2023), this Court “set a highly expedited schedule” given the

“approaching trial date” on March 4, 2024. Id. at *4. The Court expedited

that appeal to a far greater extent than the Government’s proposal here,

see United States v. Trump, No. 23-3190, Order (D.C. Cir. Nov. 3, 2023),

and yet the parties promptly submitted extensive briefing and this Court,

18 days after hearing argument, issued a comprehensive 68-page opinion.

     The defendant’s suggestion (Opp. 3-4) that expedition in that case

was justified because it concerned the First Amendment overlooks that

that case involved “[t]wo foundational constitutional values”: “an

individual’s right to free speech and the fair and effective functioning of

the criminal trial process.” Trump, 2023 WL 8517991, at *6 (emphasis

added). Expediting this case likewise furthers the constitutional value

in prompt resolution of criminal charges. And the need for expedition to

serve the public’s interest in a prompt trial has heightened importance


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here—not only because of nature of the issues, but because the

defendant’s appeal suspends trial proceedings until the appeal is

resolved.

     The recent decision in Trump is not the only case where this Court

expedited proceedings related to this matter. See In re Sealed Case, 80

F.4th 355 (D.C. Cir. 2023) (expedited briefing and argument on Speech

or Debate issue); In re Sealed Case, 77 F.4th 815 (D.C. Cir. 2023)

(expedited briefing and argument on, inter alia, First Amendment

challenge to nondisclosure issue); cf. Trump v. Thompson, No. 21-5254,

Order (D.C. Cir. Nov. 11, 2021) (granting expedited briefing and

argument, with opinion issued 28 days after order entered, see Trump v.

Thompson, 20 F.4th 10 (D.C. Cir. 2021)). Expediting the briefing and

argument in this interlocutory appeal is consistent with the schedule in

those matters and will in no way prevent the Court from reaching a

considered conclusion here.

     Nor is it accurate that an expedited schedule prevents the parties

from giving the issues on appeal due consideration. The defendant has

extensively considered, developed, and briefed these issues for months.

Within five days of the indictment, counsel for the defendant publicly


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announced his claim that the defendant “is now immune from

prosecution for acts” that he undertook while in office.2 At a status

hearing in the district court on August 28, 2023, the defendant stated his

intention to file a “very complex and sophisticated motion” on “executive

immunity,” and was prepared to file an “extensive motion” either “this

week or early next week”—i.e., by no later than September 6, 2023. ECF

No. 38 at 33-34. The defendant did not adhere to that schedule. Instead,

he filed a 52-page motion to dismiss on presidential-immunity grounds

on October 5, 2023, ECF 74, followed by a 31-page motion to dismiss on

constitutional grounds, which included a claim based on the

Impeachment Judgment Clause and principles of double jeopardy, ECF

No. 113. The Government responded to both motions in detailed written

oppositions, see ECF No. 109 (54-page brief in response to presidential-

immunity claim), ECF No. 139 (79-page brief in response addressing,

inter alia, constitutional double-jeopardy claim), and the defendant then

submitted lengthy replies, see ECF No. 122 (27-page reply in support of

presidential-immunity claim); ECF No. 162 (25-page reply in support of



     2  https://www.nbcnews.com/meet-the-press/meet-press-august-6-
2023-n1307001.
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constitutional claims). That the parties have already extensively aired

the issues on appeal makes this case “especially well suited for expedited

disposition.” United States v. Glover, 731 F.2d 41, 44 (D.C. Cir. 1984)

(per curiam); see id. at 45 (noting that the issue on appeal had been “well

briefed in the parties’ motion papers”).

     3. The defendant also argues (Opp. 6-9) that expediting this appeal

would violate his constitutional rights to due process and a fair trial. The

thrust of that argument, however, focuses on the volume of discovery and

the relationship between discovery and the March 4 trial date—

arguments that are properly directed to the district court, not this Court.

When confronted with those arguments, the district court carefully

“balance[d] the defendant’s right to adequately prepare” with its

“responsibility to move the case along in the normal order,” ECF No. 38

at 56, and established the March 4 trial date and corresponding pretrial

deadlines. The district court has likewise accommodated some, though

not all, of the defendant’s many requests for additional time. See, e.g.,

ECF No. 82 (extending time to file pretrial motions by two weeks and

time for defendant to file motions to compel and motions for trial

subpoenas under Fed. R. Crim. P. 17(c) by a month); ECF No. 146 (further


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extensions for motions to compel and motions for trial subpoenas); ECF

No. 152 (extending time for defendant to file replies in support of motions

to dismiss by six days). Nothing about the district court’s selection of the

trial date and its careful management of the pretrial schedule, including

discovery, raises a constitutional concern. But more to the point, the

defendant’s complaints about discovery and the trial date are wholly

disconnected from the Government’s request for appellate expedition. 3

The purely legal issues on appeal require assessment only of the face of

the indictment.

     4. Finally, the defendant urges (Opp. 13-14) the Court, if it grants

the motion for expedited review, not to adopt the Government’s proposed

schedule because it would make his brief due the day after Christmas.

But if the Court today enters a briefing order consistent with the

Government’s request, the defendant’s brief would be due no later than

December 23. In any event, the public’s need for a speedy resolution of



     3  The defendant suggests (Opp. 8-9) that expedition would also
violate “the public’s First Amendment rights.” But other than restating
his attack on the March 4 trial date, he offers no independent explanation
of how an expedited briefing and argument schedule for his presidential-
immunity and double-jeopardy claims would work a First Amendment
violation, either on him or the public.
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these important legal issues take precedence over personal scheduling

issues. The parties and the judicial system are fully capable of moving

with the swiftness required. The Government stands ready to respond

within seven days of the defendant’s opening brief. The reply deadline

and any oral argument should be scheduled promptly thereafter.

     In any event, if the Court expedites the appeal but provides

additional time for briefing, any expedited schedule should be established

with a view to hearing and resolving this case in time for the Supreme

Court to be able to consider granting review and scheduling argument

this Term in a regularly scheduled argument session. See U.S. Petition

for Cert. Before Judgment, United States v. Trump, No. 23-624, (S. Ct.

filed Dec. 11, 2023).



December 13, 2023                  Respectfully submitted,

                                   JACK SMITH
                                   Special Counsel

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     1.    This document complies with the type-volume limitations of

Federal Rule of Appellate Procedure 27(d)(2)(A) because it contains 1,464

words.

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                                          /s/ James I. Pearce
                                          James I. Pearce




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                      CERTIFICATE OF SERVICE

      I hereby certify that on December 13, 2023, I electronically filed the

foregoing Government’s Motion to Expedite with the Clerk of the Court

of the U.S. Court of Appeals for the District of Columbia Circuit using the

appellate CM/ECF system. I certify that all participants in the case are

registered CM/ECF users, and that service will be accomplished by the

CM/ECF system.


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